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 3
     Attorney for Defendant,
 4   Mady Chan
 5
                                  UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                  )    No. CRS 96-00350 WBS
     UNITED STATES OF AMERICA,                      )
 9                                                  )    STIPULATION AND PROPOSED ORDER
                    Plaintiff,                      )    CONTINUING JUDGMENT AND
10                                                  )    SENTENCING HEARING
            vs.                                     )
11                                                  )
     MADY CHAN,                                     )
12                                                  )
                    Defendant                       )
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            A judgment and sentencing hearing is presently set on July 14, 2014. The parties hereby
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     stipulate that the judgment and sentencing hearing be continued to July 21, 2014 at 9:30 a.m. in

16   order to afford both counsel additional time to prepare and complete matters related to the

17   proceeding.
18   DATED: July 8, 2014                                  /s/ Timothy E. Warriner, Attorney for
                                                          defendant, Mady Chan
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20   DATED: July 8, 2014                                  /s/ William Wong, Assistant U.S. Attorney
                                                          for the government
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                                                 ORDER
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            GOOD CAUSE APPEARING, and based on the stipulation of the parties, it is hereby

 3   ordered that the judgment and sentencing hearing shall be continued to July 21, 2014 at 9:30

 4   a.m., and that the previously scheduled hearing date be vacated.
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     Dated: July 9, 2014
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